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February 12, 2020
Via ECF

Honorable Thomas J. McAvoy

Senior United States District Judge

Federal Building and United States Courthouse
15 Henry Street

Binghamton, New York 13901

Re: USAv. Justin Hobbie; Case No. 5:19-cr-285 (TJM)
Dear Judge McAvoy:

This office represents Justin Hobbie, who is scheduled to be sentenced before your Honor
on Wednesday, February 26, 2020, and sentencing memorandums are currently due to be filed
today, Wednesday, February 12, 2020.

Undersigned counsel is making every effort to remain within the Court’s ten-page limit
and does not intend to unnecessarily lengthen the Sentencing Memorandum. At most, counsel
may need an additional five pages to fully set forth its sentencing arguments. Counsel therefore
requests permission to file a Sentencing Memorandum up to but not in excess of 15 pages. I
have conferred with AUSA Geoff Brown, and I understand that he has no objection.

Thank you for your consideration and courtesy.

Respectfully submitted,
ZIMMER LAW OFFICE, PLLC
Kimberly M. Zimmer

KMZ/kac

ce: Assistant United States Attorney Geoffrey Brown, via email
